                                      United States Bankruptcy Court
                                        Northern District Of Ohio
                                       Notice of Filing Deficiency

   To: Atty. Daniel J. Solmen                                        Case Number: 19−40977−rk

   Debtor(s): William James Slomcheck                                Judge: RUSS KENDIG
              Anna−Marie H. Dolansky−Slomcheck

Re: Motions/Pleadings/Filings for Judge's Consideration
    Chapter 13 Plan (Doc. #14)

The following deficiency must be corrected within 7 days from the date of this notice, or the matter may be
referred to the Judge for further consideration.

   Adversary filing incomplete. Need         Cover Page/Worksheet      Request for Summons         See Comments.
   Affidavit is invalid. Need      Notary Seal/Stamp       Signature    County/State       See Comments.
   Attachments missing or incorrectly filed.
   Case      Closed       Dismissed       Number incorrect     Transferred     Caption Incorrect.
   Certificate of service indicating name and address of parties served and date of service required.
   Exhibit A not attached.
   Form B121 required.
   Hearing information        Not fully reflected in order    No Hearing notice      Incorrect Hearing time/date.
   Signature Declaration missing.
   /S/ Signature required for      Attorney      Debtor     Creditor.
   Incorrect PDF Attached.
   No Means Testing Form
   Other. See Comments/Instructions.

Comments/Instructions:
Plan Must Be Served On All Creditors And A Certificate Of Service Filed Pursuant To General Order 17−1 Dated
October 31, 2017

Deputy Clerk: Betsy Faunda
Date: 6/6/2019
Form ohnb141




      19-40977-rk      Doc 16      FILED 06/06/19         ENTERED 06/06/19 11:33:01             Page 1 of 1
